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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA                      :
                                                     :      CASE NO. 21-cr-498-CJN
                       v.                            :
                                                     :
       ANDREW QUENTIN TAAKE,                         :
                                                     :
                                 Defendant.          :

______________________________________________________________________________

      GOVERNMENT’S NOTICE OF POSTION ON STAY PENDING APPEAL
______________________________________________________________________________

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and hereby notifies the Court as follows:

 1. At the October 4, 2022 Status Conference, the Court ordered that on or before October 14,

     2022 the United States set out its position on whether the trial on the remaining charges

     should proceed or be stayed pending the Interlocutory Appeal.

 2. The United States has determined that it will not seek a stay on the remaining charges pending

     the Interlocutory Appeal.

 3. The United States request that a trial date be set at the October 26, 2022 status conference.

                                              Respectfully submitted,


                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                     By:      /s/ BARRY K. DISNEY
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